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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
CORE SCIENTIFIC, INC., et al.,                          §        Case No. 22-90341 (DRJ)
                                                        §
                                                        §        (Jointly Administered)
                    Debtors.1                           §
                                                        §        Ref Docket No. 29

                                           MASTER SERVICE LIST
                                            (as of January 31, 2023)2




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.
2
    The Master Service List in Excel and label formats are available on the Debtors’ website at
     https://cases.stretto.com/CoreScientific/ under “Notice Lists.”
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                                                                                                                                                                         Debtors' Master Service List
                                                                                                                                                                                      As of 1/31/2023



                              Name                                                       Attention                                           Address 1                                     Address 2                        Address 3                    City      State      Zip         Country       Phone           Fax                        Email
    36th Street Capital Partners LLC, Prime Alliance Bank,
    Inc., and Wingspire Equipment Finance, LLC                   c/o Reed Smith LLP                                     Attn: Devan J. Dal Col                              2850 N. Harwood, Suite 1500                                         Dallas             TX      75201                    469-680-4200   469-680-4299   ddalcol@reedsmith.com
                                                                                                                                                                                                                                                                                                                                  jolsen@36thstreetcapital.com
                                                                                                                                                                                                                                                                                                                                  clatouche@36thstreetcapital.com
    36th Street Capital Partners, LLC                            c/o Reed Smith LLP                                     Attn: Devan Dal Col                                 2850 N. Harwood Street Suite 1500                                   Dallas             TX      75201                    469-680-4280                  gkammerer@36thstreetcapital.com
    AAF International                                            Attn: Ryan McGary, General Counsel                     9920 Corporate Campus Dr Ste 2200                                                                                       Louisville         KY      40223                    502-637-0642                  rmcgary@aafintl.com
    Ad Hoc Equity Group                                          c/o Skadden, Arps, Slate, Meagher & Flom LLP           Attn: Noelle M. Reed                                1000 Louisiana Street, Suite 6800                                   Houston            TX      77002                    713-655-5122   713-483-9122   noelle.reed@skadden.com
                                                                                                                                                                                                                                                                                                                                  george.panagakis@skadden.com
                                                                                                                                                                                                                                                                                                                                  ron.meisler@skadden.com
                                                                                                                        Attn: George N. Panagakis, Ron E. Meisler,                                                                                                                                                                christopher.dressel@skadden.com
    Ad Hoc Equity Group                                          c/o Skadden, Arps, Slate, Meagher & Flom LLP           Christopher M. Dressel, Jennifer Madden             155 North Wacker Drive                                              Chicago            IL      60606-1720               312-407-0700   312-407-0411   jennifer.madden@skadden.com
                                                                                                                                                                                                                                                                                                                                  krishansen@paulhastings.com
                                                                                                                                                                                                                                                                                                                                  erezgilad@paulhastings.com
                                                                                                                        Attn: Kristopher M Hansen, Erez E Gilad, Sayan                                                                                                                              213-683-6000   213-627-0705   sayanbhattacharyya@paulhastings.com
    Ad Hoc Group of Secured Convertible Noteholders              c/o Paul Hastings LLP                                  Bhattacharyya & Joanne Lau                          200 Park Ave                                                        New York           NY      10166                    212-318-6000   212-319-4090   joannelau@paulhastings.com
    Ad Hoc Group of Secured Convertible Noteholders              c/o Paul Hastings LLP                                  Attn: James T Grogan III                            600 Travis Street 58th Floor                                        Houston            TX      77002                    713-860-7300   713-353-3100   jamesgrogan@paulhastings.com
    Amazon Web Services Inc                                      Attn: Rashmi Manchanda                                 410 Terry Avenue North                                                                                                  Seattle            WA      98109-5210               415-539-5057                  rmmanch@amazon.com
    American Property Acquisition, LLC                                                                                  210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    American Property Acquisitions I, LLC                                                                               210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    American Property Acquisitions VII, LLC                                                                             210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    AmTrust North America, Inc. on behalf of Associated
    Industries Insurance Company, Inc.                           c/o Maurice Wutscher, LLP                              Attn: Alan C. Hochheiser                            23611 Chagrin Blvd Suite 207                                        Beachwood          OH      44122                    216-220-1129   216-472-8510   ahochheiser@mauricewutscher.com
    Anchorage Lending CA, LLC                                    c/o Otterbourg P.C.                                    Attn: James Drew                                    230 Park Avenue                                                     New York           NY      10169                                                  jdrew@otterbourg.com
                                                                                                                                                                                                                                                                                                                                  brent.mcilwain@hklaw.com
    Atalaya Capital Management LP                                c/o Holland & Knight LLP                               Attn: Brent R. McIlwain and Brian Smith             1722 Routh Street Suite 1500                                        Dallas             TX      75201                                                  brian.smith@hklaw.com
    B. Riley Financial, Inc.                                     c/o Willkie Farr & Gallagher LLP                       Attn: Melanie Mansfield                             300 North LeSalle Dr                                                Chicago            IL      60654                                                  mmansfield@willkie.com
    Bank of America                                                                                                     800 5th Ave                                                                                                             Seattle            WA      98104
    Barings BDC, Inc.                                                                                                   300 S. Tryon St                                                                                                         Charlotte          NC      28202
    Barings BDC, Inc., Barings Capital Investment
    Corporation, and Barings Private Credit Corp.                c/o Arnold & Porter Kaye Scholer LLP                   Attn: C. Thomas Kruse                               700 Louisiana St Suite 4000                                         Houston            TX      77002                    713-576-2400   713-576-2499   tom.kruse@arnoldporter.com
                                                                                                                                                                                                                                                                                                                                  michael.messersmith@arnoldporter.com
    Barings BDC, Inc., Barings Capital Investment                                                                       Attn: Michael D. Messersmith, Brian J. Lohan &                                                                                                                                                            brian.lohan@arnoldporter.com
    Corporation, and Barings Private Credit Corp.                c/o Arnold & Porter Kaye Scholer LLP                   Sarah Gryll                                         70 West Madison Street Suite 4200                                   Chicago            IL      60602                    312-583-2300   312-583-2360   sarah.gryll@arnoldporter.com
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    Barings BDC, Inc., Barings Capital Investment                                                                       Attn: Jeffrey A. Fuisz, Madelyn A. Nicolini & Robert                                                                                                                                                      madelyn.nicolini@arnoldporter.com
    Corporation, and Barings Private Credit Corp.                c/o Arnold & Porter Kaye Scholer LLP                   T. Franciscovich                                     250 West 55th Street                                               New York           NY      10019                    212-836-8000   212-836-8689   robert.franciscovich@arnoldporter.com
    Barings Capital Investment                                                                                          300 S. Tryon St                                                                                                         Charlotte          NC      28202
    Barings LLC                                                  Attn: Steve Johnson                                    300 South Tryon Street, Suite 2500                                                                                      Charlotte          NC      18202
    Barings Private Credit Corp                                                                                         300 S. Tryon St                                                                                                         Charlotte          NC      28202
                                                                 c/o Matthews, Shiels, Knott, Eden, Davis & Beanland,
    BEAM Concrete Construction, Inc.                             L.L.P.                                                 Attn: Misti L Beanland                              8131 LBJ Freeway Suite 700                                          Dallas             TX      75251                    972-234-3400   972-234-1750   beanland@mssattorneys.com
    Bergstrom Electric                                           Attn: Steve Wasvick                                    3100 North Washington Street                                                                                            Grand Forks        ND      58208                    701-775-8897                  swasvick@bergstromelectric.com
    BlockFi Inc                                                  c/o Haynes and Boone LLP                               Attn: Matthew Frankle                               30 Rockefeller Plaza, 26th Floor                                    New York           NY      10112                                                  matthew.frankle@haynesboone.com
                                                                                                                                                                                                                                                                                                                                  kenric.kattner@haynesboone.com
    BlockFi, Inc.                                                c/o Haynes and Boone, LLP                              Attn: Kenric D. Kattner & Arsalan Muhammad          1221 McKinney Street Suite 4000                                     Houston            TX      77010                    713-547-2000   713-547-2600   arsalan.muhammad@haynesboone.com
                                                                                                                                                                                                                                                                                                                                  matt.ferris@haynesboone.com
    BlockFi, Inc.                                                c/o Haynes and Boone, LLP                              Attn: Matt Ferris & Charles M. Jones II             2323 Victory Avenue, Suite 700                                      Dallas             TX      75219                    214-651-5000   214-651-5940   charlie.jones@haynesboone.com
    BlockFi, Inc.                                                c/o Haynes and Boone, LLP                              Attn: Richard Kanowitz                              30 Rockefeller Plaza, 26th Floor                                    New York           NY      10112                    212-659-7300   212-918-8989   richard.kanowitz@haynesboone.com
                                                                                                                                                                                                                                                                                                                                  peter.lewis@solidcounsel.com
    Board of Directors of Core Scientific, Inc.                  c/o Scheef & Stone, L.L.P.                             Attn: Peter C. Lewis, Esq.                          500 North Akard Street, Suite 2700                                  Dallas             TX      75201                    214-706-4200   214-706-4242   marcella.morales@solidcounsel.com
    Bremer Bank                                                                                                         3100 South Columbia Road                                                                                                Grand Forks        ND      58201
    BRF Finance Co., LLC                                                                                                299 Park Ave. 21st Floor                                                                                                New York           NY      10171
    BRF Finance Co., LLC                                         Attn: General Counsel                                  30870 Russell Ranch Road Ste. 250                                                                                       Westlake Village   CA      91362                    310-966-1444                  legal@brileyfin.com
    CDW Direct                                                   Attn: Rick Kulevich, General Counsel                   200 N. Milwaukee Avenue                                                                                                 Vernon Hills       IL      60061                    847-465-6000                  credit@cdw.com
    CEC Energy Services, LLC                                     c/o Branscomb PLLC                                     Attn: Patrick H. Autry                              4630 North Loop 1604 West Suite 206                                 San Antonio        TX      78249                    210-598-5401   210-598-5405   pautry@branscomblaw.com
    CES Corporation                                              Attn: Scott Weatherall                                 28029-108 Avenue                                                                                                        Acheson            AB      T7Z 6P7      Canada      780-910-6037                  s.weatherall@cescorp.ca
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    Charles Basil and Mitch Edwards                              c/o Ervin Cohen & Jessup LLP                           Attn: Byron Z. Moldo, Russell M. Selmont            9401 Wilshire Boulevard, 12th Floor                                 Beverly Hills      CA      90212                    310-273-6333   310-887-6802   rselmont@ecjlaw.com
    Cherokee County Tax Collector                                Attn: Delenna Stiles, Tax Collector                    75 Peachtree Street #225                                                                                                Murphy             NC      28906-2947               828-837-2421                  collections@cherokeecounty-nc.gov
    City National Bank                                                                                                  555 South Flower Street                                                                                                 Los Angeles        CA      90071                    800-599-0020
    City of Dalton, Georgia by and through its Board of Water,
    Light and Sinking Fund Commissioners d/b/a Dalton                                                                                                                                                                                                                                                                             tom@howley-law.com
    Utilities                                                    c/o Howley Law PLLC                                    Attn: Tom A. Howley and Eric Terry                  Pennzoil Place – South Tower           711 Louisiana St., Suite 1850 Houston           TX      77002                    713-333-9125                  eric@howley-law.com
    City of Dalton, Georgia by and through its Board of Water,
    Light and Sinking Fund Commissioners d/b/a Dalton
    Utilities                                                    c/o Troutman Pepper Hamilton Sanders LLP               Attn: Matthew Ray Brooks                            875 Third Avenue                                                    New York           NY      10022                    212-704-6000                  matthew.brooks@troutman.com
    City of Dalton, Georgia by and through its Board of Water,
    Light and Sinking Fund Commissioners d/b/a Dalton
    Utilities                                                    c/o Troutman Pepper Hamilton Sanders LLP               Attn: Marcy J. McLaughlin Smith                     PO Box 1709                                                         Wilmington         DE      19899-1709               302-777-6500                  marcy.smith@troutman.com
    City of Denton                                               c/o Haynes and Boone, LLP                              Attn: Kelli S. Norfleet                             1221 McKinney Street Suite 4000                                     Houston            TX      77010                    713-547-2000   713-547-2600   kelli.norfleet@haynesboone.com
                                                                                                                                                                                                                                                                                                                                  martha.wyrick@haynesboone.com
    City of Denton                                               c/o Haynes and Boone, LLP                              Attn: Martha Wyrick & Thomas J. Zavala              2323 Victory Avenue Suite 700                                       Dallas             TX      75219                    214-651-5000   214-651-5940   tom.zavala@haynesboone.com
    Coinbase Inc                                                 c/o Coinbase Custody Trust Co LLC                      100 Pine St, Ste 1250                                                                                                   San Francisco      CA      94111
    Cooley LLP                                                   Attn: Daniel Peale                                     3 Embarcadero Center, 20th Floor                                                                                        San Francisco      CA      94111-4004               202-842-7835                  dpeale@cooley.com
    Core Scientific Acquired Mining LLC                                                                                 210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    Core Scientific Mining LLC                                                                                          210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    Core Scientific Operating Company                                                                                   210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    Core Scientific Specialty Mining (Oklahoma) LLC                                                                     210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701
    Core Scientific, Inc.                                        Attn: Todd DuChene, Esq.                               210 Barton Springs Road, Suite 300                                                                                      Austin             TX      78701                                                  tduchene@corescientific.com
                                                                                                                                                                                                                                                                                                                                  ray.schrock@weil.com
                                                                                                                        Attn: Ray C. Schrock, Ronit J. Berkovich and                                                                                                                                212-310-6737                  ronit.berkovich@weil.com
    Core Scientific, Inc., et al.                                c/o Weil, Gotshal & Manges LLP                         Moshe A. Fink                                       767 5th Ave                                                         New York           NY      10153                    212-310-8000   212-310-8007   moshe.fink@weil.com
    Core Scientific, Inc., et al.                                c/o Weil, Gotshal & Manges LLP                         Attn: Alfredo R. Perez                              700 Louisiana Street Suite 1700                                     Houston            TX      77002                    713-546-5000   713-224-9511   alfredo.perez@weil.com
    Dallas County                                                c/o Linebarger Goggan Blair & Sampson, LLP             Attn: John Kendrick Turner                          2777 N Stemmons Freeway Suite 1000                                  Dallas             TX      75207                    214-880-0089   469-221-5003   dallas.bankruptcy@lgbs.com
    Dalton Utilities                                             Attn: Tom Bundros                                      1200 V D Parrott Jr Pkwy                                                                                                Dalton             GA      30721                    706-278-1313   706-278-7230   tbundros@dutil.com
    Dalton Utilities                                             c/o Troutman Pepper Hamilton Sanders LLP               Attn: Matthew R. Brooks                             600 Peachtree Street NE, Suite 3000                                 Atlanta            GA      30308                                                  matthew.brooks@troutman.com
    DK Construction Company                                      Attn: Justin Edwards, President                        5165 Gilbertsville Highway                                                                                              Calvert City       KY      42029-0388               270-395-7656   270-395-1975   justin@dkconstructioninc.com
    Duke Energy                                                  Attn: Tammy Daber, Power Contracts Administrator       9700 David Taylor Dr.                               Mail Code: DT01X                                                    Charlotte          NC      28262                    866-541-8886                  tammy.daber@duke-energy.com
    FlowTX                                                       Attn: Lucas Leavitt                                    PO Box 90504                                                                                                            San Antonio        TX      78209-9086               210-455-0580                  lleavitt@flowtx.com
    Foundry Digital LLC                                                                                                 1100 Pittsford Victor Road                                                                                              Pittsford          NY      14534                    585-432-0353                  hello@foundrydigital.com
    Gaylor Electric, Inc. d/b/a Gaylor, Inc.                     c/o Bradley Arant Boult Cummings LLP                   Attn: James B Bailey                                One Federal Place, 1819 5th Avenue N                                Birmingham         AL      35203                    205-521-8000                  jbailey@bradley.com


Core Scientific, Inc., et al.
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                                                                                                                                                                            Debtors' Master Service List
                                                                                                                                                                                          As of 1/31/2023



                            Name                                                      Attention                                                 Address 1                                   Address 2                            Address 3           City         State       Zip      Country       Phone           Fax                         Email
    Gem Mining                                                  c/o Maynard, Cooper & Gale, P.C.                          Attn: Stephen C. Jackson                            1901 Sixth Avenue North, Suite 1700                             Birmingham          AL      35203                  205-254-1000                  sjackson@maynardcooper.com
    Gensler                                                     Attn: Todd Runkle                                         1011 S. Congress Ave, Building 1, Ste 200                                                                           Austin              TX      78704                  512-867-8113                  todd_runkle@gensler.com
    Harper Construction Company, Inc                            Attn: Stephen Marble                                      2241 Kettner Blvd Ste 300                                                                                           San Diego           CA      92101                  619-233-7900   619-233-1889   lpz@harperconstruction.com
    Harper Construction Company, Inc.                           c/o Mulinix Eddy & Ewert, PLLC                            Attn: Russell L. Mulinix                            210 Park Avenue, Suite 3030                                     Oklahoma City       OK      73102                  405-232-3800   405-232-8999   rusty@lawokc.com
                                                                                                                                                                                                                                                                                                                               jhiggins@porterhedges.com
    Harper Construction Company, Inc.                           c/o Porter Hedges LLP                                     Attn: John F. Higgins, M. Shane Johnson             1000 Main Street, 36th Floor                                    Houston             TX      77002                  713-226-6000   713-226-6248   sjohnson@porterhedges.com
    Herc Rentals                                                Attn: Leslie Hunziker                                     27500 Riverview Center Blvd Ste 100                                                                                 Bonita Springs      FL      34134                  239-301-1675                  leslie.hunziker@hercrentals.com
                                                                                                                                                                                                                                                                                                                               sorourke@cokinoslaw.com
    Huband-Mantor Construction, Inc.                            c/o Cokinos Young                                         Attn: Jay K. Farwell & Stephanie O'Rourke           10999 I-10 West Suite 800                                       San Antonio         TX      78230                  210-293-8700   210-293-8733   jfarwell@cokinoslaw.com
                                                                                                                                                                                                                                                                                                 214-396-1105
    Humphrey & Associates, Inc.                                 c/o Laperouse, PC                                         Attn: Jason R. Kennedy                              5220 Spring Valley Rd, Suite 615                                Dallas              TX      75254                  214-396-1099   214-396-1096   bankruptcy@laperouselaw.com
    Internal Revenue Service                                                                                              Department of the Treasury                                                                                          Ogden               UT      84201-0045
    Internal Revenue Service                                    Attn: Centralized Insolvency Operation                    2970 Market Street                                                                                                  Philadelphia        PA      19104-50
    Internal Revenue Service                                    Attn: Centralized Insolvency Operation                    PO Box 7346                                                                                                         Philadelphia        PA      19101-7346             800-973-0424   267-941-1015
    Internal Revenue Service                                    Houston Department                                        1919 Smith Street                                                                                                   Houston             TX      77002
    Kentucky Department of Revenue                              Attn: Thomas B. Miller                                    501 High Street                                                                                                     Frankfort           KY      40601                  502-564-5930   502-564-8946
    LiveView Technologies Inc                                   Attn: Chris Parker                                        1226 S 1480 W                                                                                                       Orem                UT      84058                  801-221-9408                  chris.parker@lvt.com
    Luxor Technology Corp                                                                                                 1100 Bellevue Way NE                                Suite 8A #514                                                   Bellevue            WA      98004
    Marnoy Interests, Ltd. d/b/a Office Pavilion                c/o Ferguson Braswell Fraser Kubasta PC                   Attn: Rachel L. Smiley                              2500 Dallas Parkway, Suite 600                                  Plano               TX      75093                  972-378-9111   972-378-9115   rsmiley@fbfk.law
    Marshall County Sheriff                                     Attn: Trent Weaver, Sheriff                               52 Judicial Dr                                                                                                      Benton              KY      42025                  270-527-3112                  marshallso@marshallco.org
    MassMutual Asset Finance LLC                                Attn: David Coutu                                         2 Hampshire Street                                  Suite 101                                                       Foxboro             MA      02035
    MassMutual Asset Finance LLC                                c/o Verrill Dana LLP                                      Attn: Thomas O. Bean                                One Federal Street 20th Floor                                   Boston              MA      02110                  617-309-2606                  tbean@verrill-law.com
    MassMutual Asset Finance LLC                                c/o Verrill Dana LLP                                      Attn: Nathaniel R. Hull                             One Portland Square                                             Portland            ME      04101                  207-253-4726                  nhull@verrill-law.com
                                                                                                                                                                                                                                                                                                                               jkneeland@watttieder.com
                                                                                                                          Attn: Jennifer L. Kneeland and Marguerite Lee                                                                                                                                                        mdevoll@watttieder.com
    McCarthy Building Companies Inc.                            c/o Watt, Tieder, Hoffar & Fitzgerald, LLP                DeVoll                                              1765 Greensboro Station Place             Suite 1000            McLean              VA      22102                  703-749-1000   703-893-8029   shope@watttieder.com
    McDermott Will and Emery LLP                                Attn: Erin West                                           1 Vanderbilt Ave                                                                                                    New York            NY      10017                  202-756-8135                  eswest@mwe.com
    MK Marlow Company, LLC                                      c/o Scott Viscuso, PLLC                                   Attn: Eric L Scott                                  1105 North Bishop Avenue                                        Dallas              TX      75208                  214-289-2891                  escott@sv-legal.com
    Moss Adams LLP                                              Attn: Findley Gillespie                                   999 Third Ave, Suite 2800                                                                                           Seattle             WA      98104                  206-302-6212                  findley.gillespie@mossadams.com
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    MP2 Energy Texas, LLC d/b/a Shell Energy Solutions          c/o Cokinos Young                                         Attn: Craig E. Power & Maria M. Bartlett            1221 Lamar Street 16th Floor              Four Houston Center   Houston             TX      77010                  713-535-5500   713-535-5533   mbartlett@cokinoslaw.com
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    NYDIG ABL LLC                                               c/o Sidley Austin LLP                                     Attn: Dennis M. Twomey and Jackson T. Garvey        One South Dearborn Street                                       Chicago             IL      60603                  312-853-7000   312-853-7036   jgarvey@sidley.com
    NYDIG ABL LLC                                               c/o Sidley Austin LLP                                     Attn: Maegan Quejada                                1000 Louisiana Street, Suite 5900                               Houston             TX      77002                  713-495-4500   713-495-7799   mquejada@sidley.com
    NYDIG ABL LLC                                               c/o Sidley Austin LLP                                     Attn: Elizabeth R. Tabas Carson                     787 7th Ave                                                     New York            NY      10019                                                etabas@sidley.com
                                                                                                                                                                                                                                                                                                                               jayson.b.ruff@usdoj.gov
    Office of the U.S. Trustee                                  Attn: Jayson Ruff & Alicia Barcomb                        515 Rusk Street, Suite 3516                                                                                         Houston             TX      77002                  713-718-4650   713-718-4670   alicia.barcomb@usdoj.gov
                                                                                                                                                                                                                                                                                                                               bmiller@willkie.com
                                                                                                                                                                                                                                                                                                                               tgoren@willkie.com
                                                                                                                                                                                                                                                                                                                               jburbage@willkie.com
                                                                                                                          Attn: Brett H Miller, Todd M Goren, James H                                                                                                                                                          corewillkie@willkie.com
    Official Committee of Unsecured Creditors                   c/o Willkie Farr & Gallagher LLP                          Burbage, & Joseph R. Brandt                         787 Seventh Avenue                                              New York            NY      10019                  212-728-8000   212-728-8111   jbrandt@willkie.com
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    Official Committee of Unsecured Creditors                   c/o Willkie Farr & Gallagher LLP                          Attn: Jennifer J Hardy                              600 Travis Street                                               Houston             TX      77002                  713-510-1700   713-510-1799   corewillkie@willkie.com
    OP                                                          Attn: Elise Chittick                                      10030 Bent Oak Dr                                                                                                   Houston             TX      77040                  713-595-0522                  echittick@ophouston.com
    Priority Power Management LLC                               Attn: Robert L. Douglas                                   2201 E Lamar Blvd Suite 275                                                                                         Arlington           TX      76006                  408-375-0865                  rdouglas@prioritypower.com
    Priority Power Management, LLC                              c/o Baker Botts LLP                                       Attn: Danny David                                   One Shell Plaza, 910 Louisiana Street                           Houston             TX      77002-4995             713-229-1234                  danny.david@bakerbotts.com
                                                                                                                                                                                                                                                                                                                               eric.haitz@bakerbotts.com
    Priority Power Management, LLC                              c/o Baker Botts LLP                                       Attn: Eric T. Haitz, Shelby V. Saxon                2001 Ross Avenue, Suite 900                                     Dallas              TX      75201-2980             214-953-6500                  shelby.saxon@bakerbotts.com
    Priority Power Management, LLC                              c/o Baker Botts LLP                                       Attn: Scott R. Bowling                              30 Rockefeller Plaza                                            New York            NY      10112                  212-408-2500                  scott.bowling@bakerbotts.com
    Radar Relay, Inc.                                                                                                     210 Barton Springs Road, Suite 300                                                                                  Austin              TX      78701
    RADAR, LLC                                                                                                            210 Barton Springs Road, Suite 300                                                                                  Austin              TX      78701
    Reed Wells Benson and Company                               Attn: Kenneth Fulk                                        120010 N Central Expressway Ste 1100                                                                                Dallas              TX      75243                  972-788-4222                  kfulk@rwb.net
    Securitas Security Services USA Inc                         Attn: Patrick Melody                                      4330 Park Terrace Drive                                                                                             West Lake Village   CA      91361                  763-287-6618                  patrick.melody@securitasinc.com
    Securities & Exchange Commission                            Attn: Andrew Calamari Regional Director                   Brookfield Place 200 Vesey Street, Ste 400                                                                          New York            NY      10281-1022
    Securities & Exchange Commission                            Secretary of the Treasury                                 100 F Street, NE                                                                                                    Washington          DC      20002
    Shell Energy Solutions                                      Attn: Marty Lundstrom                                     21 Waterway Avenue Suite 450                                                                                        The Woodlands       TX      77380                  832-510-1042   832-510-1128   marty.lundstrom@mp2energy.com
    Sidley Austin LLP                                           Attn: Scott Parel                                         2021 McKinney Avenue Suite 2000                                                                                     Dallas              TX      75201                  214-981-3431                  sparel@sidley.com
    Sphere 3D Corp.                                                                                                       10 Glenville St.                                                                                                    Greenwich           CT      06831                                                patricia.trompeter@sphere3d.com
                                                                                                                          Attn: Timothy A. ("Tad") Davidson II, Ashley L.                                                                                                                                                      taddavidson@huntonak.com
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